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10
                                         UNITED STATES DISTRICT COURT
11
                                     NORTHERN DISTRICT OF CALIFORNIA
12
                                              OAKLAND DIVISION
13
     UNITED STATES OF AMERICA,                         )   NO. CR 20-00266 JST
14                                                     )
             Plaintiff,                                )   UNITED STATES’ WITNESS LIST
15                                                     )
        v.                                             )   Trial Date:    October 31, 2022, 8:00 a.m.
16                                                     )   Pretrial Date: October 6, 2022, 9:30 a.m.
     MICHAEL BRENT ROTHENBERG,                         )   Court:         Hon. Jon S. Tigar, Courtroom 6
17                                                     )
             Defendant.                                )
18                                                     )

19           The United States hereby submits its list of prospective witnesses that may be called to testify at
20 the October 31, 2022, trial of the above-captioned matter. The government reserves its rights, in

21 keeping with the Federal Rules of Criminal Procedure, to expand this list before trial and to call

22 additional witnesses as may be necessary during trial.

23 Silicon Valley Bank Witnesses

24           1.       Brian Bell
25           2.       Michelle Jandu
26           3.       Frederick Kreppel
27           4.       George Pires
28           5.       Ingrid Robertson

     USA’S WITNESS LIST
     CR 20-00266 JST
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 1         6.       Pablo Serna

 2         7.       Custodian of Records and /or witnesses necessary to explain documents

 3 Merrill Lynch Witnesses

 4         8.       Christine Allscheid

 5         9.       Benjamin Bolt

 6         10.      Anna Jenkins

 7         11.      Ryan Kelty

 8         12.      Custodian of Records and /or witnesses necessary to explain documents

 9 Bank of America Witnesses

10         13.      Custodian of Records and /or witnesses necessary to explain documents

11 Chicago Title Company Witnesses

12         14.      Hapi Yamato

13         15.      Custodian of Records and /or witnesses necessary to explain documents

14 Stanford Federal Credit Union Witnesses

15         16.      Custodian of Records and / or witnesses necessary to explain documents

16 Law Enforcement Witnesses

17         17.      Jennifer Barnard, Special Agent, Federal Bureau of Investigation

18         18.      Anthony Ghio, Special Agent, Internal Revenue Service Criminal Investigation

19         19.      Michael Capuzzi, Special Agent, Internal Revenue Service Criminal Investigation

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     USA’S WITNESS LIST
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 1 Other Witnesses

 2        20.   Paulette Brunk, Notary Public

 3        21.   Jefferson Robert “J.R.” Eppler, Rothenberg Ventures Management Company

 4        22.   Rothenberg Ventures Management Company (or any similar entities) Custodian
                of Records and / or witnesses necessary to explain documents
 5
          23.   Thomas Leep
 6

 7 DATED: September 29, 2022                             Respectfully submitted,
 8                                                       STEPHANIE M. HINDS
                                                         United States Attorney
 9

10
                                                                    /s/
11                                                       KYLE F. WALDINGER
                                                         NICHOLAS J. WALSH
12                                                       Assistant United States Attorneys
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     USA’S WITNESS LIST
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